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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




   UNITED STATES, et al.,

                                 Plaintiffs,

          vs.                                                No. 1:23-cv-00108-LMB-JFA
   GOOGLE LLC,

                                 Defendant.



           NON-PARTY THE WALT DISNEY COMPANY’S MOTION TO SEAL

         Pursuant to Local Civil Rule 5(C), non-party The Walt Disney Company (“TWDC”)

  respectfully moves this Court to seal portions of the deposition testimony of Jeremy Helfand. As

  discussed further in the accompanying memorandum of law, sealing the identified portions of this

  deposition testimony is necessary and tailored to protect TWDC’s sensitive, confidential, business

  information.


  July 31, 2024                                    Respectfully submitted,

                                                   COVINGTON & BURLING LLP

                                                   /s/ Connor Kelley
                                                   Connor Kelley (VA Bar No. 93596)
                                                   One CityCenter
                                                   850 Tenth St., NW
                                                   Washington, DC 20001
                                                   Telephone: 202-662-6000
                                                   Facsimile: 202-778-5628
                                                   ckelley@cov.com

                                                   E. Kate Patchen (admitted pro hac vice)
                                                   Salesforce Tower

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                                        415 Mission Street, Suite 5400
                                        San Francisco, CA 94105
                                        Telephone: 415-591-6000
                                        kpatchen@cov.com

                                        Attorneys for Non-Party The Walt Disney
                                        Company




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